Case 1:19-cv-00489-MJT Document 1-3 Filed 10/14/19 Page 1 of 39 PageID #: 19



  EXHIBIT C: INDEX OF DOCUMENTS FILED IN STATE COURT ACTION


EXHIBIT    DATE FILED                   DOCUMENT TITLE
C-1                       CERTIFIED COPY OF DOCKET SHEET
C-2        09/09/2019     PLAINTIFFS' ORIGINAL PETITION
C-3        09/09/2019     PLAINTIFFS' CIVIL PROCESS REQUEST
C-4        09/12/2019     CITATION BY CERTIFIED MAIL TO DEFENDANT
                          THE LITTLETON GROUP
C-5        09/12/2019     CITATION BY CERTIFIED MAIL TO DEFENDANT
                          CERTAIN UNDERWRITERS AT LLOYDS, LONDON
C-6        09/12/2019     CITATION BY PERSONAL SERVICE TO
                          DEFENDANT BRYAN TURNER
C-7        09/24/2019     RETURN OF SERVICE FOR DEFENDANT THE
                          LITTLETON GROUP
C-8        10/01/2019     RETURN OF SERVICE FOR DEFENDANT BRYAN
                          TURNER
C-9        10/04/2019     DEFENDANT'S ORIGINAL ANSWER,
                          AFFIRMATIVE AND OTHER DEFENSES, AND
                          ELECTION PURSUANT TO TEX. INS. CODE §
                          542A.006
               Case 1:19-cv-00489-MJT Orange
                                      Document 1-3 Filed
                                             County      10/14/19
                                                     District CourtPage 2 of 39 PageID #: 20
                                     801 W Division. Orange, 77630 TX. Phone: (409)882-7825 EXT
                                              CASE HISTORY FOR CASE 190369-C
                                 Steve Carlton, et al VS. Certain Underwriters at Lloyds, London, et al
FILED DATE: 9/9/2019                               CASE TYPE: C/CONTRACT - OTHER                                  STATUS: JURY DEMAND
                                                        JUDGE: 260th District Court



CASE PARTIES:
                  Plaintiff Carlton, Steve
          Plaintiff Attorney Ramsey, Michael R
               Defendant Certain Underwriters at Lloyds, London
               Defendant The Littleton Group
               Defendant Turner, Bryan
                  Plaintiff Gunn, Thomas A.

CASE HISTORY FOR CASE 190369-C

Carlton, Steve                                             Current Age: Unknown                                  DOB: Unknown
                                                                   DL#:                                          SSN: XXX-XX-XXXX
    ,                                                       Total Paid: $ 476.00                          Balance Due: $ 0.00
        COST                                                                             AMOUNT                        PAY PRIORITY
        Action: PLAINTIFF'S ORIGINAL PETITION
             COMP PUB ACCT CV (DC) $50.00                                                  $50.00                                   20
             DISTRICT CLK'S FEE-CASE $50.00                                                 50.00                                   50
             ORANGE CO SHERIFF -CASE $5.00                                                   5.00                                   50
             LAW LIBRARY FEES $20.00                                                        20.00                                   50
             STENOGRAPHIC FEES $15.00                                                       15.00                                   50
             COURTHOUSE SEC FUND $5.00                                                       5.00                                   50
             REC MGMT PRES $5. GC 51.317 (c)(2)                                              5.00                                   50
             REC MGMT PRES FUND(CL-R) GC 51.317(c)(1                                         5.00                                   40
             JUDICIARY FEE                                                                  42.00                                   30
             STATE:IND LGL(C)LGC 133.152 (a)(1)                                             10.00                                   30
             APPELLATE JUD SUPPORT FEE                                                       5.00                                   30
             DC DIGITIZE CT. R. GC 51.708                                                   10.00                                   40
             DC ARCHIVE 51.305 (b)                                                          10.00                                   40
             STATE E-FILING (C) $30 GC 51.851 (b)                                           30.00                                   20

        Action: CITATION REQUESTED (CERTIFIED MAIL)
             DISTRICT CLERK FEES : GENERAL                                                 166.00                                   50

        Action: CITATION REQUESTED (PROCESS SERVER)
             DISTRICT CLERK FEES : GENERAL                                                   8.00                                   50

        Action: JURY DEMAND + NO IMAGE
             JURY FEE                                                                       40.00                                   50

                                                             Total:                       $476.00
    DATE           TIME         DESCRIPTION
    10/01/2019     2:17 pm      Filing recorded: CITATION RETURNED +
                                Turner, Bryan
    09/23/2019     3:39 pm      Filing recorded: CITATION RETURNED +
                                The Littleton Group

    Print Date:   10/03/2019
    Print Time:   10:03:31AM
    Requested By: ANNETTEV                       File: U:\Reports\CaseHistoryCivil.RPT              C-1                   Page 1 of 2
            Case 1:19-cv-00489-MJT Document 1-3 Filed 10/14/19 Page 3 of 39 PageID #: 21
CASE HISTORY FOR CASE 190369-C

   09/16/2019    10:32 am     Received payment of $476.00 from Michael R Ramsey (efile) for Steve Carlton. Printed receipt
                              #525590.
                              Carlton, Steve
   09/12/2019     2:26 pm     Filing recorded: CITATION/S ISSUED + ELECTRONICALLY
                              Turner, Bryan
   09/12/2019     2:26 pm     ANNETTEV recorded the following Case Action Note: Emailed to jga@jangirouard.com.
                              Turner, Bryan
   09/12/2019     1:45 pm     Filing recorded: CITATION REQUESTED (PROCESS SERVER)
                              Carlton, Steve
   09/12/2019     1:44 pm     Filing recorded: CITATION/S ISSUED + CMRRR
                              The Littleton Group
   09/12/2019     1:44 pm     Filing recorded: CITATION/S ISSUED + CMRRR
                              Certain Underwriters at Lloyds, London
   09/12/2019     1:17 pm     ANNETTEV recorded the following Case Action Note: Scanned to OP.
                              Carlton, Steve
   09/09/2019     1:21 pm     Filing recorded: CITATION REQUESTED (CERTIFIED MAIL)
                              Carlton, Steve
   09/09/2019     1:18 pm     Filing recorded: REQ FOR PROCESS FORM
                              Carlton, Steve
   09/09/2019     1:17 pm     Filing recorded: JURY DEMAND + NO IMAGE
                              Carlton, Steve
   09/09/2019     1:16 pm     Filing recorded: PLAINTIFF'S ORIGINAL PETITION
                              Carlton, Steve
   09/09/2019     1:15 pm     Filing recorded: E-FILE RECEIPT
                              Carlton, Steve




   Print Date:   10/03/2019
   Print Time:   10:03:31AM
   Requested By: ANNETTEV                      File: U:\Reports\CaseHistoryCivil.RPT                                     Page 2 of 2
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  STATE OF TEXAS

  COUNTY OF ORANGE


  I, VICKIE EDGERLY, Clerk of the District Court in and for Orange

  County, Texas, do hereby certify that the above and foregoing is a copy and

  appears as the record in my office.

        Witness my official seal and signature of office on Orange, Texas, on

  October 3, 2019.




                                  VICKIE EDGERLY, DISTRICT CLERK
                                  ORANGE COUNTY, TEXAS
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Case 1:19-cv-00489-MJT Document 1-3 Filed 10/14/19 Page 34 of 39 PageID   #: 52 12:12 PM
                                                                  FILED: 10/4/2019
                                                                                 Vickie Edgerly, District Clerk
                                                                                       Orange County, Texas
                                                                                      Envelope No. 37391708
                                                                                 Reviewed By: Justin Rhodes
                                       CAUSE NO. D190369-C

STEVE CARLTON AND THOMAS A.                      §                     IN THE DISTRICT COURT
GUNN,                                            §
    Plaintiffs,                                  §
                                                 §
v.                                               §                260TH JUDICIAL DISTRICT
                                                 §
CERTAIN UNDERWRITERS AT                          §
LLOYDS, LONDON, THE                              §
LITTLETON GROUP, AND BRYAN                       §
TURNER.,                                         §
     Defendants.                                 §                 ORANGE COUNTY, TEXAS

     DEFENDANT’S ORIGINAL ANSWER, AFFIRMATIVE AND OTHER DEFENSES,
           AND ELECTION PURSUANT TO TEX. INS. CODE § 542A.006

        Defendant Certain Underwriters at Lloyds, London, (“Defendant”) files its original

answer, affirmative and other defenses, and election pursuant to Tex. Ins. Code § 542A.006 to

Plaintiffs Steve Carlton and Thomas A. Gunn’s (collectively, “Plaintiffs”) Original Petition (the

“Petition”).

                                  I.      GENERAL DENIAL

        Defendant asserts its general denial as authorized by Rule 92 of the Texas Rules of Civil

Procedure to the allegations contained in Plaintiffs’ Petition, and any amendments or

supplements thereto, and upon trial of this case will require Plaintiffs to prove each and every

allegation asserted against it by a preponderance of the evidence, as is required by the laws of

this State of Texas and the Constitution of the United States.

                      II.    AFFIRMATIVE AND OTHER DEFENSES

        1.     Plaintiffs’ claims are barred in whole or in part because Plaintiffs failed to

promptly report the alleged loss at issue as required by the Policy.

        2.     Plaintiffs’ claims are barred in whole or in part because the Property was “vacant”

and/or “unoccupied”, as defined by the Policy, during the relevant time period at issue.



DEFENDANT’S ORIGINAL ANSWER
                                                                  C-9                      PAGE 1 OF 4
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        3.          Plaintiffs’ claims are barred in whole or in part due to the terms, limitations,

restrictions, exclusions, and endorsements contained in and to the Policy that is the basis of

Plaintiffs’ suit.

        4.          Plaintiffs’ claims are barred because there was a reasonable basis for denying all

or part of the insurance claim at issue.

        5.          Plaintiffs’ are barred under the doctrines of settlement and release.

        6.          Plaintiffs’ claims are barred by the equitable doctrine of waiver.

        7.          Plaintiffs’ claims are barred by the election of rights doctrine.

        8.          Plaintiffs’ claims are barred by the “one satisfaction” doctrine.

        9.          Plaintiffs’ claims are barred by the economic loss rule.

        10.         Plaintiffs’ claims are barred in whole or in part by accord and satisfaction.

        11.         Plaintiffs’ claims are barred in whole or in part by setoff.

        12.         Plaintiffs’ claims are barred in whole or in part because Plaintiffs failed to

mitigate or minimize their alleged damages.

        13.         Defendant’s actions and omissions, if any, regarding the subject matters in the

alleged causes of action, and each of them, were undertaken in good faith, with the absence of

malicious intent to injure Plaintiffs, and constitute lawful, proper, justified means to further the

business purposes of Defendant.

        14.         Plaintiffs’ damages, if any, were proximately caused by the acts, omissions, or

breaches of other persons and entities, including Plaintiffs, and said acts, omissions, or breaches

were intervening and superseding causes of Plaintiffs’ damages, if any. Defendant asserts its

right to comparative and/or proportionate responsibility as provided in Chapter 33 of the Texas

Civil Practice and Remedies Code and request that the fact finder apportion responsibility as




DEFENDANT’S ORIGINAL ANSWER                                                                   PAGE 2 OF 4
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provided in Chapter 33.

        15.      Defendant claims all offsets and credits available under Chapter 33 of the Texas

Civil Practice and Remedies Code.

        16.      Any award of pre-judgment interest is limited by the dates and amounts as set

forth in Chapter 304 of the Texas Finance Code and/or Chapter 41 of the Texas Civil Practice &

Remedies Code.

        17.      Defendant reserves the right to later amend or add to these defenses.

               III.     ELECTION PURSUANT TO TEX. INS. CODE § 542A.006

        18.      Pursuant to Tex. Ins. Code § 542A.006(a), Defendant hereby notifies Plaintiffs

and the Court that Defendant elects to accept whatever liability, if any (which Defendant neither

admits nor concedes), Defendants The Littleton Group and Bryan Turner might have to Plaintiffs

for any alleged acts or omissions related to the insurance claim at issue.1 Based on this election,

Defendant requests the Court immediately dismiss the claims against Defendants The Littleton

Group and Bryan Turner with prejudice as required by Tex. Ins. Code § 542A.006(c).2

                                               IV.      PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant Certain Underwriters at Lloyds,

London respectfully requests the Court enter judgment that Plaintiffs take nothing in their suit,

the Court enter an order dismissing Plaintiffs’ suit with prejudice, Defendant recover its costs

and attorneys’ fees, and for all other relief to which Defendant may be justly entitled.




1
  See Tex. Ins. Code § 542A.006(a) (“[I]n an action to which this chapter applies, an insurer that is a party to the
action may elect to accept whatever liability an agent might have to the claimant for the agent's acts or omissions
related to the claim by providing written notice to the claimant.”).
2
  See Tex. Ins. Code §542A.006(c) (“If a claimant files an action to which this chapter applies against an agent and
the insurer thereafter makes an election under Subsection (a) with respect to the agent, the court shall dismiss the
action against the agent with prejudice.”).


DEFENDANT’S ORIGINAL ANSWER                                                                            PAGE 3 OF 4
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                                                  Respectfully submitted,

                                               By: /s/ Valerie Henderson
                                                   Valerie Henderson
                                                   Texas Bar No. 24078655
                                                   BAKER, DONELSON, BEARMAN,
                                                   CALDWELL & BERKOWITZ. P.C.
                                                   1301 McKinney Street, Suite 3700
                                                    Houston, Texas 77010
                                                    (713) 650-9700 - Telephone
                                                    (713) 650-9701 – Facsimile
                                                    vhenderson@bakerdonelson.com

                                                   Attorney for Defendant Certain
                                                   Underwriters at Lloyds, London


                              CERTIFICATE OF SERVICE

       I hereby certify that on October 4, 2019, a true and correct copy of the foregoing was
served on the following counsel via e-service pursuant to the Texas Rules of Civil Procedure:

       Michael R. Ramsey
       Katherine D. Ramsey
       RAMSEY LAW
       6280 Delaware Street, Ste A
       Beaumont, Texas 77706
       ramseydocket@ramseylaw.com

                                               /s/ Valerie Henderson
                                               Valerie Henderson




DEFENDANT’S ORIGINAL ANSWER                                                         PAGE 4 OF 4
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Bravo, Cecilia

From:                          No-Reply@eFileTexas.gov
Sent:                          Friday, October 4, 2019 12:14 PM
To:                            Bravo, Cecilia
Subject:                       Courtesy Copy of Service for Case: D190369-C, Steve Carlton and Thomas A. Gunn Vs.
                               Certain Underwriters at Lloyds London, et al for filing Answer/Response, Envelope
                               Number: 37391708

Follow Up Flag:                Follow up
Flag Status:                   Flagged




                                                                           Copy of Service
                                                                                Case Number: D190369-C
                                                           Case Style: Steve Carlton and Thomas A. Gunn
                                                           Vs. Certain Underwriters at Lloyds London, et al
                                                                             Envelope Number: 37391708

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                                                Filing Details
Case Number                      D190369-C
                                 Steve Carlton and Thomas A. Gunn Vs. Certain Underwriters at
Case Style
                                 Lloyds London, et al
Envelope Number                  37391708

Date/Time Submitted              10/4/2019 12:12 PM CST
Filing Type                      Answer/Response
Filing Description               Certain Underwriters at Lloyds, London's Original Answer
Filed By                         Cecilia Bravo
                                 Carlton Steve:

                                 Michael Ramsey (mike@ramseylaw.com)

                                 Katherine Ramsey (ramseydocket@ramseylaw.com)
Service Contacts


                                 Certain Underwriters at Lloyds, London:

                                 Valerie Henderson (vhenderson@bakerdonelson.com)
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                                                       1
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                                          2
